 Case 2:23-mc-00022-AB-MRW Document 21 Filed 04/24/23 Page 1 of 1 Page ID #:204

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.         MC23-22 AB (MRWx)                                           Date   April 24, 2023
 Title            Wolfire Games, LLC et al. v. Valve Corporation




 Present: The Honorable         Michael R. Wilner, United States Magistrate Judge
                       James Muñoz                                          CS 04/24/23
                       Deputy Clerk                                    Court Smart / Recorder

                Attorneys Present for Movants:
                       Jared Cherry
                      Michael Ellison
                    Meeghan Tirtasaputra
                      Peter Breslauer
 Proceedings:          STATUS CONFERENCE


         Case called. Counsel make their appearance.

         Status conference held as stated on the record.




                                                                                            :26
                                                                                            JM




CV-90 (10/08)                                CIVIL MINUTES - GENERAL                              Page 1 of 1
